      Case: 1:21-cv-04569 Document #: 1 Filed: 07/14/21 Page 1 of 4 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 Craigville Telephone Co. d/b/a AdamsWells
 2351 N. Main Street
 Craigville, IN 46731                                   Case: 1:21−mc−00101
                                                        Assigned To : Moss, Randolph D.
        and                                             Assign. Date : 7/14/2021
                                                        Description: Misc.
 Consolidated Telephone Company d/b/a CTC
 1102 Madison St.
 Brainerd, MN 56401

 Individually and on behalf of a class of           Miscellaneous Case No. ______________
 similarly situated companies,

        Petitioners,

        v.

 Wilkinson Barker Knauer LLP
 1800 M. St., NW
 Washington, DC 20036

        Serve:
        Ray L. Gifford, Registered Agent
        2138 32nd Ave., Suite 300
        Denver, CO 80211

        Respondent.

               MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
               TO NON-PARTY WILKINSON, BARKER, KNAUER LLP

       Petitioners/Plaintiffs Craigville Telephone Co. d/b/a AdamsWells and Consolidated

Telephone Company d/b/a CTC (“Plaintiffs”), pursuant to Fed. R. Civ. P. 45(d), respectfully move

the Court for an order compelling Respondent Wilkinson Barker Knauer LLP (“WBK”), to comply

with a document subpoena served on June 7, 2021. WBK was counsel to T-Mobile USA, Inc.

(“T-Mobile”) in the investigation by the Federal Communications Commission (“FCC”) that

resulted in the Consent Decree upon which the underlying lawsuit against T-Mobile is predicated.
       Case: 1:21-cv-04569 Document #: 1 Filed: 07/14/21 Page 2 of 4 PageID #:2




Pursuant to Fed. R. Civ. P. 45(f), the parties consent to transferring this Motion to the U.S. District

Court for the Northern District of Illinois (“NDIL”), where the underlying lawsuit, Civil No. 1:19-

cv-07190, is pending before the Hon. John Z. Lee and the Hon. Jeffrey T. Gilbert for supervision

of discovery.

       Rule 45(f) authorizes the transfer of subpoena-related motions to the issuing court if the

“person subject to the subpoena consents or if the court finds exceptional circumstances.” Fed. R.

Civ. P. 45(f); Duck v. SEC, 317 F.R.D. 321, 323–24 (D.D.C. 2016). In determining whether

“exceptional circumstances” exist, courts consider the “complexity, procedural posture, duration

of pendency, and the nature of the issues pending before, or already resolved by, the issuing court

in the underlying litigation.” Judicial Watch, Inc. v. Valle Del Sol, Inc., 307 F.R.D. 30, 34 (D.D.C.

2014); Wultz v. Bank of China, Ltd., 304 F.R.D. 38, 45-47 (D.D.C. 2014) (finding exceptional

circumstances due to the “highly complex and intricate nature of the underlying litigation”); In re

UBS Fin. Servs., Inc. of Puerto Rico Sec. Litig., 113 F. Supp. 3d 286, 288 (D.D.C. 2015) (finding

exceptional circumstances where the issuing court “ha[d] issued a multitude of orders resolving

significant procedural and discovery disputes during that time”).          Courts also consider the

“potential for inconsistent or conflicting rulings concerning the discoverability of the documents

in the possession of the [subpoenaed non-party], thereby disrupting the issuing court’s

management of the underlying litigation.” Duck, 317 F.R.D. at 325 (internal quotations and

citation omitted).

       The Court should transfer this Motion to the NDIL because WBK consents and exceptional

circumstances exist. This case involves a complex class action relating to a technologically

sophisticated scheme that Plaintiffs allege was designed to mask a massive fraud that likely

impacted billions of calls to rural America in violation of FCC rules and the Communications Act



                                                  2
      Case: 1:21-cv-04569 Document #: 1 Filed: 07/14/21 Page 3 of 4 PageID #:3




of 1934. And, as explained in Plaintiffs’ Memorandum in Support of their Motion, WBK has

invoked T-Mobile’s dispute over the scope of permissible discovery, which is awaiting decision

by the NDIL, as grounds for not complying with the Subpoena. Therefore, it will be more efficient

to have this matter decided by the NDIL, as well.

 Dated: July 14, 2021                                   Respectfully submitted,

                                                        By: /s/ Cathy A. Hinger

                                                        Cathy A. Hinger (DC Bar No. 473697)
                                                        Victoria A. Bruno (DC Bar No. 484197)
                                                        Kathleen O. Gallagher (DC Bar No. 1006302)
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                                                        Counsel for Petitioners




                                               3
      Case: 1:21-cv-04569 Document #: 1 Filed: 07/14/21 Page 4 of 4 PageID #:4




             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7(m)

       I, Cathy A. Hinger, counsel for Petitioners/Plaintiffs (“Plaintiffs”), in accordance with

Local Rule 7(m), hereby certify that Plaintiffs made good faith efforts to resolve the discovery

dispute with Respondent prior to filing this Motion. Plaintiffs held a telephonic meet and confer

with Respondent and counsel for Defendant T-Mobile USA, Inc. (“T-Mobile) on June 28, 2021

where the matters at issue in this Motion were thoroughly discussed. Plaintiffs sent a follow-up

letter dated July 6, 2021 to Respondent, advising Respondent of further grounds for Plaintiffs’

belief that Respondent’s objections, to the extent they rely on T-Mobile’s scope of discovery

objection pending in the Northern District of Illinois (“NDIL”), were not supported by T-Mobile’s

briefing on this issue in the NDIL. On July 7, 2021, Respondent replied with a letter declining to

change its position and continuing to refuse to produce any of its responsive documents. Copies

of these communications are attached to Plaintiffs’ Memorandum in Support of their Motion.

                                                /s/ Cathy A. Hinger

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                                                Victoria A. Bruno (DC Bar No. 484197)
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                                                Counsel for Petitioners
